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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     JONATHAN HOANG TO,                                  Case No. 24-cv-06447-WHO
                                                          Plaintiff,
                                   8
                                                                                             ORDER DENYING ALL MOTIONS
                                                  v.
                                   9
                                                                                             Re: Dkt. Nos. 14, 26
                                  10     DIRECTTOU, LLC,
                                                          Defendant.
                                  11

                                  12          Currently before me are: (1) proposed intervenors’ (Douglas Feller, Jeffrey Heise, and
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                                  13   Joseph Mull, collectively “Feller”) motion to intervene and to dismiss or alternatively to transfer

                                  14   or stay this case pursuant to the first-to-file rule; and (2) plaintiff Hoang To’s motion to

                                  15   preliminarily approve a class action settlement of this case. Both motions are DENIED.

                                  16          Feller’s motion to intervene is DENIED because their interests can be protected through

                                  17   objections to the approval of the settlement. And because the Feller case and this case were filed

                                  18   at essentially the same time, the Feller case is stayed, and this case has moved further along, the

                                  19   motion to dismiss or transfer under the first-to-file rule is DENIED.

                                  20          Hoang To’s motion for preliminary approval is DENIED without prejudice. For the

                                  21   settlement to be approved as fair, reasonable and adequate, counsel need to address the significant

                                  22   concerns raised by Feller regarding the valuation of the claims based not on defendant’s use of the

                                  23   Meta pixel tool, but on defendant’s sale or rent of consumer data to data brokers and other non-

                                  24   Meta third parties. Counsel must also address issues with respect to the scope of the release and

                                  25   proposed notice.

                                  26          I encourage all counsel – for the parties and for Feller – to meet and confer to determine if

                                  27   a revised global settlement can be reached that appropriately accounts for the non-Meta pixel

                                  28   claims. Otherwise, I will expect a renewed motion for preliminary approval that provides a
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                                   1   reasoned valuation for the non-Meta pixel claims and additional support demonstrating that the

                                   2   existing settlement was reached after sufficient discovery, all showing why the settlement is fair,

                                   3   reasonable, and adequate.

                                   4   I.       MOTION TO INTERVENE AND DISMISS OR TRANSFER
                                   5            Feller seeks to intervene to protect the interests of the class in the case he filed on August

                                   6   8, 2024, in the Southern District of Florida. Dkt. No. 14. Feller argues that the case here, filed by

                                   7   Hoang To just four days later and removed to this court in September 2024, is a copycat case and

                                   8   the result of a reverse auction by defense counsel. Dkt. No. 14. Feller seeks intervention as of

                                   9   right or permissively under Rule 24(a) or (b) because the Hoang To settlement would extinguish

                                  10   his claims with an unfair and inadequate settlement.

                                  11            In support, Feller alleges the following:

                                  12            1.     Hoang To conducted no, or had inadequate, discovery to settle this case;
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                                  13            2.     Hoang To settled this case remarkably quickly, without the assistance of a

                                  14   mediator, just days after Feller’s counsel and defendant attended a formal mediation with a retired

                                  15   judge and who believed, like Feller, that settlement negotiations were ongoing while defense

                                  16   counsel were instead negotiating with Hoang To;

                                  17            3.     Defendant “obstructed” Feller’s attempt in the Southern District of Florida to be

                                  18   appointed interim counsel, obstructed his efforts to intervene in this case and to have the Hoang

                                  19   To case dismissed under the first-to-file rule, and obstructed discovery in the Florida case;

                                  20            4.     Hoang To settled this case based on a last-minute stipulated expansion of the

                                  21   claims in this case to encompass those in Feller without a commensurate expansion in the

                                  22   recovery for the class. That stipulated amendment extended the Hoang To action beyond VPPA1

                                  23   violations based on defendant’s use of the Meta pixel (the only claims alleged in Hoang To’s

                                  24   original and First Amended Complaint) to encompass the allegations at the heart of the Feller

                                  25   action--that defendant was also liable under the VPPA because defendant sold or rented consumer

                                  26   data to third-party data brokers other than Meta. See Dkt. No. 14-1, ¶ 85 (Feller action pleading

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                                           Video Privacy Protection Act, 18 U.S.C. §2701 et seq. (“VPPA”).
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                                   1   both a “Data Brokerage Class” and a separate “Meta Pixel Class”).

                                   2   All of these issues, according to Feller, raise the alarm of a collusive, reverse auction settlement

                                   3   that Feller seeks to challenge through intervention in this case.2

                                   4           Feller’s motion to intervene is DENIED. As Feller’s persuasive arguments regarding

                                   5   Hoang To’s motion for preliminary approval demonstrate, Feller is more than able to protect his

                                   6   interests by objecting to the proposed settlement of this case and, if necessary, opting out if and

                                   7   when a fair, reasonable, and adequate settlement is presented for my approval. See, e.g., Perkins

                                   8   v. Ryder Integrated Logistics, Inc., No. 23-CV-00502-WHO, 2023 WL 8481817, at *1 (N.D. Cal.

                                   9   Dec. 7, 2023 (denying intervention in a similar context and noting that “cases from this District

                                  10   that have denied intervention, as a right or permissive, in similar circumstances” because objecting

                                  11   or opting out provide sufficient mechanisms to protect absent class members’ rights).

                                  12           Feller’s alternative request to dismiss or transfer this case under the first-to-file rule is also
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                                  13   DENIED.3 The cases were filed within a few days of each other. The action was expanded, with

                                  14   my permission, to encompass the claims asserted in Feller. The Feller action has been

                                  15   administratively stayed by the court in Florida, with the purpose that I review and decide the

                                  16   motions to intervene and for preliminary approval. At this point, there is no risk of inconsistent

                                  17   rulings or wasted judicial resources. Judicial economy weighs in favor of denying the motion to

                                  18

                                  19   2
                                         Feller relies on my decision in Rahman v. Gate Gourmet, Inc., No. 3:20-CV-03047-WHO, 2021
                                  20   WL 5973046, at *4 (N.D. Cal. Nov. 22, 2021) , as support for his motion to intervene and
                                       assertion that the Hoang To settlement is the product of a collusive reverse-auction. Rahman was
                                  21   different; the troubling procedural machinations in Rahman are not present. Here, the cases were
                                       filed within days of each other, notice of the Feller case was given within a matter of weeks, and
                                  22   most importantly, the representations of defense counsel are that while defendant was negotiating
                                       settlement with both parties, defendant did not inform Hoang To of the settlement discussions in
                                  23   Feller, Hoang To’s counsel did not know about the settlement discussions in Feller, and Hoang To
                                       made the opening settlement offer to defendant.
                                  24   3
                                         “The first-to-file rule is a “generally recognized doctrine of federal comity which permits a
                                  25   district court to decline jurisdiction over an action when a complaint involving the same parties
                                       and issues has already been filed in another district.’ Pacesetter Sys., Inc. v. Medtronic, Inc., 678
                                  26   F.2d 93, 94–95 (9th Cir. 1982). The rule is meant to ‘avoid placing an unnecessary burden on the
                                       federal judiciary, and to avoid the embarrassment of conflicting judgments,’ and ‘should not be
                                  27   disregarded lightly.’” Molander v. Google LLC, 473 F. Supp. 3d 1013, 1017 (N.D. Cal. 2020).
                                       Courts consider three factors in determining whether the first-to-file rule applies: (1) the
                                  28   chronology of the actions; (2) the similarity of the parties; and (3) the similarity of the issues. See
                                       Kohn Law Grp., Inc. v. Auto Parts Mfg. Miss., Inc., 787 F.3d 1237, 1240 (9th Cir. 2015).
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                                   1   dismiss or transfer. Feller’s motion is DENIED.

                                   2   II.    MOTION FOR PRELIMINARY APPROVAL
                                   3          As indicated above, the Feller objections to preliminary approval are serious. Considering

                                   4   those objections and other issues – most significantly Hoang To’s failure to show that the non-

                                   5   Meta pixel claims were appropriately considered and weighed by plaintiff and defendant in the

                                   6   settlement process and plaintiff’s counsel’s failure to separately value the non-pixel claims in the

                                   7   motion for preliminary approval – preliminary approval is DENIED.

                                   8          Considerations for whether to approve a class action settlement include: (1) the strength of

                                   9   the plaintiff’s case; (2) the risk, expense, complexity, and likely duration of further litigation; (3)

                                  10   the risk of maintaining class action status throughout the trial; (4) the amount offered in

                                  11   settlement; (5) the extent of discovery completed and the stage of the proceedings; (6) the

                                  12   experience and views of counsel; (7) the presence of a governmental participant; and (8) the
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                                  13   reaction of the class members of the proposed settlement. See In re Bluetooth Headset Prods.

                                  14   Liab. Litig., 654 F.3d 935, 946 (9th Cir. 2011) (citing Churchill Vill., L.L.C. v. Gen. Elec., 361

                                  15   F.3d 566, 575 (9th Cir.2004)). In the context of a pre-certification settlement, like here, a district

                                  16   court must be more vigilant and apply a higher level of scrutiny to ensure a settlement is free from

                                  17   collusion and is fair, reasonable and adequate to the class. See id. at 946. Although not articulated

                                  18   as a separate factor in Rule 23(e), “[t]he relief that the settlement is expected to provide to class

                                  19   members is a central concern.” Fed. R. Civ. P. 23(e)(2)(C)–(D) advisory committee’s note to

                                  20   2018 amendment.

                                  21          In addition to these requirements, in my court it is mandatory that counsel seeking

                                  22   approval of class action settlements comply with the Northern District of California’s Class Action

                                  23   Settlement Guidance. See https://cand.uscourts.gov/forms/procedural-guidance-for-class-action-

                                  24   settlements/; see also https://cand.uscourts.gov/judges/orrick-william-h-who/ Standing Order for

                                  25   Civil Cases, ¶ 8 (making Guidance mandatory). The Guidance requires counsel to comply with

                                  26   certain standards and address particular issues when they move for preliminary and final approval.

                                  27          Applying the necessary heightened scrutiny, I consider each of the objections raised by

                                  28   Feller and other issues apparent from the settlement process and motion for preliminary approval.
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                                   1           1.     Insufficient Valuation of Data Brokerage Claims as a Basis for Liability. First and

                                   2   foremost, moving counsel have not shown that the non-Meta pixel data claims arising under the

                                   3   VPPA or California Civil Code § 1799.3 were appropriately considered and weighed in the

                                   4   parties’ negotiations. The claims were only folded into this case (to cover the allegations in

                                   5   Feller) after the parties’ settlement was reached. My concern is heightened by the failure of

                                   6   plaintiff’s counsel to separately value the non-Meta pixel claims; they were barely addressed in the

                                   7   moving papers and during oral argument plaintiff’s counsel kept returning to the value of the Meta

                                   8   pixel claims (e.g., repeatedly making comparisons to the value of recently settled Meta pixel

                                   9   cases) as a proxy.4 The settlement amount of $1,750,000 for 291,128 class members appears

                                  10   adequate for the Meta pixel claims, but perhaps not for wider data brokerage-based claims. The

                                  11   failures to address head on the data broker basis for the VPPA and California claims and to

                                  12   provide a separate valuation of those claims are the overarching reasons why I cannot
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                                  13   preliminarily approve the settlement as fair, reasonable or adequate.

                                  14           2.     Adequacy of Discovery. Feller also contends that Hoang To did not have

                                  15   sufficient discovery to reach an informed settlement. In response, defense counsel proffered that

                                  16   the amount of discovery (pre-negotiation and confirmatory) to which Hoang To had access was

                                  17   similar to the discovery Feller had during Feller’s negotiations with defendant. As shown during

                                  18   the hearing on these motions, however, the parties dispute what consumer information was

                                  19   provided to or made available by DirectToU to non-Meta data brokers and whether those third

                                  20   parties secured or had access to the type of information that could violate the VPPA or Section

                                  21   1799.3. An informed settlement negotiation should be based on more than supposition. It is not

                                  22   clear to me that Hoang To had sufficient (or any) discovery regarding defendant’s potential

                                  23   liability for disclosures to data brokers or that defendant provided sufficient informal discovery to

                                  24   Hoang To or Feller regarding its disclosures to data brokers. I understand that Feller was in the

                                  25   process of securing some of that discovery from third parties (i.e., to show whether the data

                                  26
                                       4
                                  27     Feller argues that the appropriate valuation for the data brokerage VPPA claims are six cases
                                       arising under the Michigan VPPA analog. See Dkt. No. at 43 at 24. I do not find that those cases
                                  28   to be necessarily relevant for valuation either, as the Michigan statute provides for statutory
                                       damages in amounts that that far exceed damages available under the VPPA.
                                                                                           5
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                                   1   brokers received the type of information from defendant that could make defendant liable under

                                   2   the VPPA) when that case was stayed. On this record, I do not have confidence that adequate

                                   3   discovery was secured to properly value the claims. These concerns over the sufficiency of

                                   4   discovery weigh against preliminary approval.

                                   5          3.      Standing/Fairness. Feller argues that the settlement should be rejected because

                                   6   Hoang To lacks standing to represent the class (given the date when he last made a transaction

                                   7   with defendant) and because the settlement he proposes “unfairly” benefits California consumers

                                   8   bringing claims under California Civil Code § 1799.3 and California’s Unfair Competition Law

                                   9   (“UCL,” Cal. Bus. & Prof. Code § 17200 et seq.). Under the proposed settlement, California class

                                  10   members may file claims up to four years back, as opposed to the nationwide VPPA class which is

                                  11   limited to two years.

                                  12          The differential treatment of the VPPA and California classes does not appear to be unfair,
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                                  13   given that the UCL claim that can expand recovery of restitutionary relief beyond a related statute

                                  14   of limitations. That said, Hoang To did not adequately address this issue or the challenges to his

                                  15   standing in his reply in support of preliminary approval or in his opposition to the motion to

                                  16   intervene. If Hoang To submits a revised motion to preliminarily approve this or a renegotiated

                                  17   settlement, Hoang To shall address the standing issue and whether it impacts his typicality or

                                  18   adequacy as a class representative, and provide a more complete explanation of why the California

                                  19   class should be able to submit claims going back four years.

                                  20          4.      Adequacy of Counsel. Feller also attacks the adequacy of Hoang To’s counsel,

                                  21   arguing they are inexperienced and were likely “handpicked” by defendant in a collusive

                                  22   agreement. I find no merit to these arguments. Hoang To’s counsel have been actively litigating

                                  23   Meta pixel cases, although apparently not data brokerage cases under the VPPA. In addition, as

                                  24   made clear in the parties’ declarations, Hoang To independently filed this case before it had any

                                  25   negotiations with defendant and defendant did not disclose the fact that it had a mediation or

                                  26   ongoing settlement discussions with Feller prior to Hoang To and defendant’s agreement to a

                                  27   settlement. The alleged inadequacy of Hoang To’s counsel is not a reason for denying preliminary

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                                   1   approval.5

                                   2           5.     Use of a Claims Process. Feller also argues that the settlement is insufficient

                                   3   because it requires class members to submit a claim to recover under the settlement. Feller points

                                   4   to recently settled VPPA cases where relief was provided to all class members by mailed paper

                                   5   checks, without the need to submit claims. See Dkt. No. 43 at 16-17. Feller argues that required

                                   6   use of a claims process it unnecessary to identify class members. He asserts that it also depresses

                                   7   the number of class members who will receive relief from a class settlement, noting that Hoang

                                   8   To’s proposed settlement administrator (Angeion) estimates that only 5% of the proposed class

                                   9   will submit claims if the settlement were approved. Hoang To’s counsel responds that using a

                                  10   claims process and allowing class members to select electronic forms of payment increases

                                  11   efficiencies, increases the likelihood that class members will receive the funds, and decreases the

                                  12   administrative costs allowing more money to flow to the class members who submit claims. Dkt.
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                                  13   26 at 28.

                                  14           The use of a claims process (where claims can be submitted by mail or through the class

                                  15   action settlement website) does not weigh against approval. Requiring claim submissions,

                                  16   assuming a robust notice plan, and allowing claims to be submitted electronically and for

                                  17   claimants to receive funds electronically, can result in efficiencies. That may be especially true in

                                  18   consumer settlements where class member payments are under $10.

                                  19           6.      Scope of Release. Feller makes a number of significant points regarding the

                                  20   breadth of the proposed release in the settlement agreement, as well as the scope of the entities

                                  21   covered by that release. I agree with Feller that releasing “potential” and “unaccrued” claims as

                                  22   well as all claims “relating to or arising out of” are unnecessarily broad and problematic terms.

                                  23

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                                       5
                                        Feller also asserts that Hoang To’s counsel is not adequate because Hoang To’s counsel offered
                                       Feller’s counsel a 10% cut of the fees if Feller dropped his attempt to intervene and object.
                                  25   According to Hoang To the offer was merely for Feller to come into the Hoang To case so global
                                       peace could be secured. Compare Declaration of Frank Hedin (Dkt. No. 39) ¶¶ 35-37 with
                                  26   Declaration of Julian Hammond (Dkt. No. 53-1) ¶¶ 3-5. I do not weigh the parties’ competing
                                       versions of that communication against the adequacy of Hoang To’s counsel. But I remind all
                                  27   concerned that any agreement between counsel not named as class counsel concerning how fees
                                       will be divided if and when fees are awarded is a “side agreement” that must be disclosed under
                                  28   Rule 23(e)(3). In addition, if a payment or fee split is proposed to forego or withdraw an
                                       objection, that must be disclosed and be approved by the court under Rule 23(e)(5)(B).
                                                                                         7
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                                   1   See Settlement Agreement § 1.25. Limiting the release to claims “based on” the collection or

                                   2   sharing of information by “defendant DirectToU” with third parties would address those concerns.

                                   3   Similarly, the list of entities released through the settlement is incredibly broad, extending beyond

                                   4   entities identified in the settlement agreement itself or even DirectToU’s certificate of interested

                                   5   parties. See id. § 1.26. The broad scope of released parties would not be as problematic if, as

                                   6   suggested, the release itself limited the released claims to those based on the conduct of

                                   7   DirectToU. At the hearing on the motions, the parties’ counsel indicated willingness to tighten up

                                   8   the scope of the release and provide more specific identification of released entities. That must be

                                   9   done to secure approval.

                                  10           7.      Compliance with the Northern District’s Guidance. Finally, Feller argues that

                                  11   Hoang To’s motion for preliminary approval fails a number of the requirements of the Guidance.

                                  12   Feller’s main argument is that because the settlement’s release extends to all claims (including
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                                  13   data broker claims), it violated Guidance rule 1.b. in that that release is broader than the claims in

                                  14   Hoang To’s FAC. Although the FAC was the operative complaint at the time Hoang To agreed to

                                  15   the settlement with defendant, the broader SAC is now the operative complaint. It is the claims in

                                  16   the SAC that must be compared to the proposed scope of release in the settlement. That the SAC

                                  17   was filed after the settlement was reached does not support a negative inference; settlements are

                                  18   often dependent on the court’s agreement to the filing of an expanded or narrowed complaint to

                                  19   match the scope of the settlement and release.

                                  20           Feller points to other discrete failures to comply with the Guidance. One was the failure of

                                  21   counsel to disclose their history of prior retentions of proposed claims administrator Angeion.

                                  22   That was cured by Hoang To in the reply in support of preliminary approval.

                                  23           Feller noted that the settlement agreement provided for only 30 days after notice for class

                                  24   members to opt-out or object; not the minimum 35 days required by the Guidance. Guidance,

                                  25   Preliminary Approval ¶ 9. But the proposed Notice submitted by the parties provides for 60 days

                                  26   to opt-out after notice. That is sufficient.

                                  27           Finally, Feller states: (1) the proposed Long-Form notice mentions “vouchers” when no

                                  28   vouchers are contemplated; (2) the range of recoveries included in that Notice are too low; and (3)
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                                   1   the URL of the proposed settlement website and content of website have not been disclosed. The

                                   2   omission of “vouchers” in easily correctible, as is the correction of the range of potential

                                   3   recoveries. The URL for the website will be provided when the Notice is printed and posted

                                   4   according to the Notice Plan.

                                   5                                         CONCLUSION

                                   6          In sum, serious concerns regarding the valuation of the data broker-related claims under

                                   7   the VPPA and § 1799.3, as well as whether Hoang To had sufficient discovery to properly

                                   8   negotiate and value those claims, lead to denial of preliminary approval. Other noted

                                   9   deficiencies should be corrected before a motion for preliminary approval is resubmitted.

                                  10          IT IS SO ORDERED.

                                  11          Dated: December 16, 2024

                                  12
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                                                                                                     William H. Orrick
                                  14                                                                 United States District Judge
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